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                       IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JOSEPH DUNN, HELEN IEHL, ALBERT
PIETERSON, JOHN HASTINGS, WINDIE
BISHOP, LISA BARNES, ANGELA GARR,
and MYESHA PRATHER, individually and on                     No. 17-cv-00481
behalf of a class of similarly situated individuals,
                                                            Hon. Manish S. Shah
                     Plaintiffs,

                         v.

WELLS FARGO BANK, N.A.,

                    Defendant.



                JOINT AGREED MOTION FOR ORDER AUTHORIZING
          FURTHER AND FINAL DISTRIBUTION OF CLASS SETTLEMENT FUND

        Plaintiffs, Joseph Dunn, Helen Iehl, Albert Pieterson, John Hastings, Windie Bishop, Lisa Barnes,

Angela Garr, and Myesha Prather (“Plaintiffs”), and Defendant, Wells Fargo Bank, N.A. (together, the

“Parties”), by and through their attorneys, pursuant to Fed. R. Civ. P. 23 and the Court’s December 10,

2019 Final Approval Order and Final Judgment (Dkts. 129, 130), hereby jointly move for entry of an

Order authorizing the further and final distribution of class settlement funds to non-profit entities. In

support of this Motion, the Parties state as follows:

I.      INTRODUCTION

        After the Court approved the Parties’ $17,850,000 settlement and entered judgment in December

2019, the Settlement Administrator, Epiq, distributed the Settlement Fund (net of Court-approved

deductions) to approximately 24,603 eligible claimants, and then, pursuant to the terms of the Settlement

Agreement, completed a second, pro rata distribution of the funds that remained as a result of uncashed

checks. (See Declaration of Eamon Mason, attached hereto as Exhibit A, ¶¶ 5-12). Due to uncashed



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checks remaining from that second distribution, the Settlement Fund still contains $87,084.77. (Id., ¶ 13).

This sum is inadequate to fund a third distribution to class members. (Id., ¶ 15). The Settlement provides

that, in these circumstances, the residual amount is to be distributed to charitable organizations according

to Court order. (Settlement Agreement, Dkt. 80-1, § V.53(n)). Accordingly, the Parties respectfully

request that the Court enter an Order authorizing Epiq to distribute the remaining funds equally to the

two charities selected and agreed to by the Parties – the American Law Institute (“ALI”) and the

Samuelson Law, Technology, and Public Policy Clinic at the University of Berkeley School of Law

(“Berkeley Clinic”) – thereby bringing this litigation to an end.

II.      RELEVANT BACKGROUND

         On December 10, 2019, the Court granted final approval of the $17.85 million settlement in this

action. (Dkts. 129, 130). The Court also expressly retained jurisdiction, including for the purposes of

supervising the continued administration and consummation of the Settlement and the Court’s Final

Judgment. (Dkt. 129, ¶ 20).

         After deducting the approved attorneys’ fees, litigation expenses, incentive awards, and

administrative costs, approximately $10,835,943.37 remained in the Settlement Fund to distribute to

eligible claimants. (Mason Decl., ¶ 3). Thus, following the Court’s entry of the Final Judgment, Epiq

processed, verified and approved claims from class members and then distributed that balance to eligible

claimants. (Id., ¶¶ 4-8). Specifically, after running all mailing addresses through the national change of

address registry, Epiq sent payments to 24,603 eligible claimants on May 8, 2020. (Id., ¶¶ 5-7). In

accordance with the Settlement, these first-round payments were for $436.40, $663.33 or $872.80,

depending on the number of different types of accounts for which a claimant received the calls at issue.

(Id., ¶ 6; Agreement, Dkt. 80-1, § V.53(g)). About 10% of the eligible claimants who received a payment




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did not deposit their settlement payments within the required 180 days. (Id., ¶ 9). As a result, $874,440.92

remained in the Settlement Fund. (Id.).

        Thereafter, pursuant to Section V.53(n) of the Settlement Agreement, Epiq calculated additional

pro rata payments of $65.96 or $32.98 (depending on the number of different types of accounts for which

a claimant received a call at issue) for those class members who had deposited their first round of

payment, and on February 1, 2021, Epiq carried out a supplemental distribution and mailing to those

22,615 individuals. (Id. ¶¶ 10-11). While class members deposited $670,384.46 in settlement checks from

this second distribution, the distributed checks are now stale and $86,605.48 has not been deposited. (Id.

¶ 13). When combined with other residual amounts, the Settlement Fund still contains $87,084.77. (Id.).

        Epiq has determined that any further distributions to the broad group of claimants would be

infeasible, as conducting a third distribution would cost upwards of $30,000 in printing, postage and

administrative fees to process and distribute $2.85 checks. (Id., ¶ 15). Similarly, while some late claims

remain, administrative costs to verify and pay these claims would consume most of the remaining funds

and further delay closure of this case. (Id., ¶ 16).

III.   ARGUMENT

       Consistent with the Settlement Agreement and relevant case law, the Parties propose distributing

the remaining funds to the two identified charities, ALI and the Berkeley Clinic. The Settlement

Agreement provides that settlement funds remaining after a second distribution will be disbursed to

charitable recipients selected by the Parties, subject to Court approval. (Agreement, Dkt. 80-1, § 53(n)).

Paying the residual amount to the selected charities is reasonable and an appropriate use of the remaining




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funds because the purposes of both the ALI and the Berkeley Clinic align with the interests and objectives

of the class in this case.1

        The Court has discretion to “put any unclaimed settlement funds to their next best compensation

use, e.g., for the aggregate, indirect, prospective benefit of the class.” In re Motorola Sec. Litig., No. 03

C 287, 2013 WL 12237555, at *1 (N.D. Ill. Mar. 5, 2013) (citation omitted). The goal is to advance the

interests of class members when additional direct distribution to them is infeasible. Kolinek v. Walgreen

Co., 311 F.R.D. 483, 498 (N.D. Ill. 2015). Thus, payment of residual funds to charitable organizations

should both further the interests of the class and “be limited to money that can’t feasibly be awarded to

the intended beneficiaries” in the class. Pearson v. NTBY, Inc., 772 F.3d 722, 784 (7th Cir. 2014). These

distributions typically are made after multiple distributions to the class members, as here. See, e.g.,

Schulte v. Fifth Third Bank, 805 F. Supp. 2d 560, 568 (N.D. Ill. 2011).

        Epiq paid out the Settlement Fund to class members in two distributions and reissued checks that

were not cashed in each round. (Mason Decl., ¶¶ 5-12). Any further distributions to the broad group of

claimants or to late claimants would be infeasible, as the administrative costs associated with such

distributions would result in de minimis payments to class members while further delaying the closure of

the administrative process. (Id., ¶¶ 15-16).

        The goals of both the ALI and the Berkeley Clinic align with the interest of the class.2 Plaintiffs

claimed their privacy was invaded by the phone calls at issue in violation of the Telephone Consumer

Protection Act. Accordingly, a nonprofit that advocates for individual privacy rights would be an



1
 Several partners of Girard Sharp (including Daniel Girard and Jordan Elias) and of Lieff Cabraser
Heimann & Bernstein are members of ALI. None of these attorneys (or their family members) have
employment relationships of any kind with ALI.
2
 Information about the ALI can be found at https://www.ali.org/. Information about the Berkely Clinic
can be found at https://www.law.berkeley.edu/experiential/clinics/samuelson-law-technology-public-
policy-clinic/.


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appropriate recipient of residual settlement funds. Similarly, the ALI works to clarify and modernize the

law of privacy in the digital era, as well as promoting greater access to justice and advancing the rule of

law, a goal of class actions generally. ALI Press Release, ALI Approves Principles of Law, Data Privacy,

https://www.ali.org/news/articles/ali-approves-principles-law-data-privacy/ (last visited August 1,

2021); About ALI, https://www.ali.org/about-ali/ (last visited August 1, 2021). The Berkeley Clinic

advocates for privacy rights in a variety of ways. This year, for example, the Clinic published papers

analyzing local government surveillance oversight ordinances and recommending means of protecting

attorney-client privilege in prisoner emails. Local Government Oversight Ordinances White Paper,

https://www.law.berkeley.edu/case-project/local-surveillance-oversight-ordinances-white-paper/        (last

visited August 1, 2021); Securing Attorney-Client Privilege in Incarcerated Persons’ Emails,

https://www.law.berkeley.edu/case-project/securing-attorney-client-privilege-in-incarcerated-persons-

emails/ (last visited August 1, 2021).

IV.    CONCLUSION

       For the foregoing reasons, the Parties jointly respectfully request that the Court authorize the

Settlement Administrator to distribute the remaining Settlement Fund in equal amounts to the ALI and

the Berkeley Clinic.



Dated: September 10, 2021                                  Respectfully Submitted,

JOSEPH DUNN, HELEN IEHL, ALBERT                            WELLS FARGO BANK, N.A.
PIETERSON, JOHN HASTINGS, WINDIE
BISHOP, LISA BARNES, ANGELA GARR, and
MYESHA PRATHER, individually and on behalf
of classes of similarly situated individuals

 By: /s/ Evan M. Meyers                                    By: /s/ Mark D. Lonergan
 One of Plaintiffs’ Attorneys                              One of Defendant’s Attorneys

 Myles McGuire                                             Mark D. Lonergan (pro hac vice)
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2021, I electronically filed the foregoing Joint Agreed

Motion for Order Authorizing Further and Final Distribution of Class Settlement Fund with the Clerk of

the Court using the CM/ECF system. A copy of said document will be electronically transmitted to all

counsel of record.



                                                   /s/ Evan M. Meyers




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